     Case 3:18-cv-01423-ARC Document 26 Filed 03/01/19 Page 1 of 24



           IN THE UNITED STATES DISTRICT COURT
         FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

ISAAC W. SANDERS,                :        No. 3:18-CV-1423
                       Plaintiff :
                                 :        Judge Caputo
             v.                  :
                                 :        Electronically Filed Document
PENNSYLVANIA’S STATE SYSTEM :
OF HIGHER EDUCATION, et al.      :        Complaint Filed 07/17/18
                    Defendants :


          BRIEF IN SUPPORT OF DEFENDANTS’ MOTION
              TO DISMISS PLAINTIFF’S AMENDED
                         COMPLAINT


                                       Respectfully submitted,

                                       JOSH SHAPIRO
                                       Attorney General


                                 By:   s/ Allison L. Deibert
                                       ALLISON L. DEIBERT
Office of Attorney General             Deputy Attorney General
15th Floor, Strawberry Square          Attorney ID 309224
Harrisburg, PA 17120
Phone: (717) 783-6270                  KELI M. NEARY
                                       Chief Deputy Attorney General
                                       Chief, Civil Litigation Section
adeibert@attorneygeneral.gov

Date: March 1, 2019                    Counsel for Defendants
          Case 3:18-cv-01423-ARC Document 26 Filed 03/01/19 Page 2 of 24



                                        TABLE OF CONTENTS
                                                                                                               Page


INTRODUCTION .....................................................................................................1

FACTS AND PROCEDURAL HISTORY ...............................................................2

QUESTIONS PRESENTED FOR REVIEW ............................................................4

ARGUMENT .............................................................................................................4

         A. Appropriate Standard Under FRCP 12(b)(6). ............................................4

         B. All of Plaintiff’s Claims are Barred by the Statute of Limitations. ...........6

         C. No Claims Can Proceed Against Defendants Cavanaugh, Brogan, Welsh,
            Borland, and Bruno Because They Have No Personal Involvement. ......11

         D. There is No Cause of Action Under Section 1983 for Making False
            Public Statements. ....................................................................................13

         E. Plaintiff’s Third Cause of Action is Not Sustainable Because PASSHE is
            Not a “Person” and Monell Does Not Apply. ..........................................13

         F. A Claim Under the Civil Rights Act Cannot Proceed. .............................15

CONCLUSION ........................................................................................................16

CERTIFICATE OF WORD COUNT

CERTIFICATE OF SERVICE




                                                           i
          Case 3:18-cv-01423-ARC Document 26 Filed 03/01/19 Page 3 of 24



                                     TABLE OF AUTHORITIES
                                                                                                            Page(s)

Cases

Aquilino v. Philadelphia Catholic Archdiocese, 884 A.2d 1269...............................7

Ashcroft v. Iqbal, 556 U.S. 662 (2009) ..................................................................5, 6

Baker v. McCollan, 443 U.S. 137 (1979) ................................................................16

Barren v. United States, 839 F.2d 987 (3d Cir.1988) ................................................8

Bell Atlantic Corp. v. Twombly, 550 U.S. 544 (2007) ...............................................5

Bradley v. West Chester University of Penn. State System of Higher Educ, 880 F.3d
  643 (3d Cir. 2018) ................................................................................................14

Brenner v. Local 514, United Bhd. of Carpenters and Joiners of Am., 927 F.2d
  1283 (3d Cir.1991) .................................................................................................9

Cibula v. Fox, 570 Fed.Appx. 129 (3d Cir. 2014) .....................................................9

Cowell v. Palmer Twp., 263 F.3d 286 (3d Cir. 2011)..................................... 8, 9, 10

Delaware State College v. Ricks, 449 U.S. 250 (1980) .............................................8

DiBella v. Borough of Beachwood, 407 F.3d 599 (3d Cir. 2005) ...........................16

Durmer v. O’Carroll, 991 F.2d 64 (3d Cir. 1993) ...................................................11

Fowler v. UPMC Shadyside, 578 F.3d 203 (3d Cir. 2009) .......................................5

Genty v. Resolution Trust Corp., 937 F.2d 899 (3d Cir.1991) ..................................7

Gonzaga Univ. v. Doe, 536 U.S. 273 (2002) ...........................................................16

Hampton v. Holmesburg Prison Officials, 546 F.2d 1077 (3d Cir. 1976) ..............11

Hishon v. King & Spalding, 467 U.S. 69 (1984) .......................................................5
                                                          ii
           Case 3:18-cv-01423-ARC Document 26 Filed 03/01/19 Page 4 of 24



Kach v. Hose, 589 F.3d 626 (3d Cir. 2009) ...............................................................8

Kopec v. Tate, 361 F.3d 772 (3d Cir. 2004) ............................................................16

Kost v. Kozakiewicz, 1 F.3d 176 (3d Cir. 1993) ........................................................6

Monell v. Dep’t of Social Services, 436 U.S. 658 (1997) ....................................3, 15

Oshiver v. Levin, Fishbein, Sedran & Berman, 38 F.3d 1380 (3d Cir. 1994) ...........5

Paratt v. Taylor, 451 U.S. 527, 535, 101 S.Ct. 1908 (1981) ...................................13

Phillips v. County of Allegheny, 515 F.3d 224 (3d Cir. 2008) ..................................6

Piecknick v. Commonwealth of Pennsylvania, 36 F.3d 1250 (3d Cir. 1984) ..........13

Ransom v. Marrazzo, 848 F.2d 398 (3d Cir. 1988) ...................................................5

Rizzo v. Goode, 423 U.S. 362 (1976).......................................................................11

Rode v. Dellarciprete, 845 F.2d 1195 (3d Cir. 1988) ..............................................11

Sameric Corp. v. City of Philadelphia, 142 F.3d 582 (3d Cir. 1998) ........................7

Seredinski v. Clifton Precision Prod. Co., Div., of Litton Sys., 776 F.2d 56 (3d Cir.
  1985) .................................................................................................................7, 16

Shutt v. Parks-Miller, No. 16-1575, 2017 WL 1738450 (M.D. Pa. May 4, 2017)..13

Skehan v. State System of Higher Educ., 815 F.2d 244 (3d Cir. 1987) ...................14

United States v. Kubrick, 444 U.S. 111 (1979) .........................................................8

Wallace v. Kato, 549 U.S. 384 (2007)...................................................................6, 8

West v. Philadelphia Electric Co., 45 F.3d 744 (3d Cir. 1995) .................................9

Will v. Michigan Dep't of State Police, 491 U.S. 58 (1989) ............................. 14, 15



                                                             iii
          Case 3:18-cv-01423-ARC Document 26 Filed 03/01/19 Page 5 of 24



Statutes

42 Pa. Cons. Stat. § 5524(2) ......................................................................................6

42 U.S.C. § 1983 .............................................................................................. passim

Rules

Fed. R. Civ. P. 12(b)(6)..............................................................................................5

Regulations

4 Pa. Code § 39.13(b).................................................................................................9




                                                          iv
       Case 3:18-cv-01423-ARC Document 26 Filed 03/01/19 Page 6 of 24



                                 INTRODUCTION

      Dr. Isaac Sanders (“Plaintiff”) is a former university vice president who was

terminated after multiple students accused him of sexual harassment and abuse.

Defendants are the Pennsylvania State System of Higher Education (“PASSHE”), a

public university system comprising 14 universities, East Stroudsburg University

(“ESU” or “the University”), Dr. John Cavanaugh, Frank Brogan, Dr. Robert

Dillman (deceased), Dr. Marcia Welsh, Dr. Kenneth Borland, and Joanne Bruno

(collectively, “Defendants”).

      Nearly ten years after his termination for cause, on July 17, 2018, Plaintiff

filed a complaint initiating this action. He has now filed a rambling and confusing

Amended Complaint, adding individuals and several facts, including a contradictory

and inconsistent timeline of events, while doing nothing to overcome the statute of

limitations. Rather, the theme of his claims appear to be that he has suffered

continuing ill effects of investigations conducted into sexual misconduct allegations

in the late-2000’s and the fact that he was not returned to an untenured, at-will

position of employment. Despite the significant length of the Amended Complaint,

he fails to state a claim that can survive the statute of limitations. Accordingly, the

Amended Complaint must be dismissed.




                                          1
       Case 3:18-cv-01423-ARC Document 26 Filed 03/01/19 Page 7 of 24



I.    FACTS AND PROCEDURAL HISTORY

      In 2007, Plaintiff, Dr. Isaac Sanders was employed as the Vice President for

Institutional Advancement at East Stroudsburg University and as the Executive

Director for the East Stroudsburg University Foundation. Amended Compl., ¶28.

On August 27, 2007, a student filed a formal complaint against Dr. Sanders alleging

sexual harassment. Amended Compl., ¶¶45-46. Following an investigation by the

Director of Diversity and Campus Mediation, the University concluded there was

insufficient evidence to support the allegation. Amended Compl., ¶¶73-74.

      In January 2008, staff within Dr. Sanders’s department accused him of

harassment, and that summer, five additional students came forward to accuse him

of sexual harassment and abuse. Amended Compl., ¶¶81and ¶124. PASSHE made

the determination that an outside law firm would conduct a new investigation.

Amended Compl., ⁋128. Dr. Sanders was placed on administrative leave in July

2008. Amended Compl., ¶138.

      The investigation into these allegations determined that evidence of sexual

harassment existed. Amended Compl., ¶156. The report prepared as a product of the

investigation was never publicly disclosed and was received by Defendant Dillman

in September 2008. Amended Compl., ¶¶158 and 175. After a pre-disciplinary

conference, Dr. Sanders was terminated for cause on October 22, 2008, effective

December 21, 2008. Amended Compl., ¶¶180-182.


                                        2
       Case 3:18-cv-01423-ARC Document 26 Filed 03/01/19 Page 8 of 24



      Six ESU students filed a civil rights action in February 2009, naming, among

other defendants, Dr. Sanders. Amended Compl., ¶¶199-200. The Commonwealth

denied representation, including indemnification, to Dr. Sanders in connection with

this lawsuit. Amended Compl., ¶202. This case concluded with a verdict in favor of

Dr. Sanders on October 31, 2014 and judgment was entered in his favor on

November 3, 2014. Amended Compl., ¶234; No. 3:09-cv-00525, Doc. 212. The

Plaintiffs appealed to the Third Circuit, which was subsequently denied on

September 21, 2017. Amended Compl., ¶¶235 and 237. The Plaintiffs’ Writ of

Certiorari was denied on February 20, 2018. Amended Compl., ¶¶242 and 246.

      In October 2018, Dr. Sanders was linked to clerical abuse. Amended Compl.,

¶261. Earlier, in 2014, Dr. Sanders was linked in news reports to Jerry Sandusky.

Amended Compl., ¶262. The lawsuit was a “primary focus” of an Inns of Court

seminar in March 2016. Amended Comp., ¶265.

      Plaintiff initiated this action in July 2018 by filing a complaint alleging six

counts containing six counts: (1) a Fourteenth Amendment loss of reputation claim;

(2) a claim for “making false public statements in violation of 42 U.S.C. § 1983;”

(3) a Monell1 claim; (4) a claim for “supervisory violations of 42 U.S.C. § 1983;”

(5) a claim for intentional infliction of emotional distress; and (6) a claim for

“violations of the Civil Rights Act.” Compl. at 27-40. Defendants filed a Motion to


1
      Monell v. Dep’t of Social Services, 436 U.S. 658 (1997).
                                         3
        Case 3:18-cv-01423-ARC Document 26 Filed 03/01/19 Page 9 of 24



Dismiss based on several grounds, not the least of which was the severe untimeliness

of the Complaint. See Doc. 15.

       Plaintiff has now filed an Amended Complaint. Doc. 20. The causes of action

are largely repeated from the initial Complaint, with the exception of the Third Cause

of Action omitting the title that it is a Monell claim2, and the addition of a state law

defamation claim.

II.    QUESTIONS PRESENTED FOR REVIEW

       1.    Are all of Plaintiff’s claims time barred by statute of limitations?

       2.    Do Plaintiff’s §1983 claims fail against Defendants Cavanaugh,
             Brogan, Welsh, Borland, and Bruno because he has not alleged any
             personal involvement?

       3.    Is Plaintiff’s False Statements claim under §1983 barred by law?

       4.    Does Plaintiff’s Third Cause of Action fail because PASSHE is
             neither a “person” nor a municipality?

       5.    Does Plaintiff fail to plead a cognizable claim under the Civil Rights
             Act?

III.   ARGUMENT

       A.    Appropriate Standard Under FRCP 12(b)(6).

       Dismissal of a complaint for failure to state a claim is appropriate where it is

certain that no relief could be granted under any set of facts that could be proved



2
       Despite the omission of the word “Monell,” the substance of Plaintiff’s
allegation remains the same.
                                           4
       Case 3:18-cv-01423-ARC Document 26 Filed 03/01/19 Page 10 of 24



consistent with the allegations contained in the complaint. Fed.R.Civ.P. 12(b)(6);

Hishon v. King & Spalding, 467 U.S. 69, 73 (1984); Ransom v. Marrazzo, 848 F.2d

398, 401 (3d Cir. 1988). On considering a motion to dismiss, the district court must

accept all allegations in the complaint as true and draw any reasonable inferences

from such allegations in plaintiff’s favor. Oshiver v. Levin, Fishbein, Sedran &

Berman, 38 F.3d 1380, 1391 (3d Cir. 1994). The court may consider not only the

complaint, but also matters of public record, orders, exhibits attached to the

complaint and items appearing in the record of the case. Id., at 1384 n.2.

      Following the Supreme Court’s decisions in Bell Atlantic Corp. v. Twombly,

550 U.S. 544, 555 (2007), and Ashcroft v. Iqbal, 556 U.S. 662 (2009), pleading

standards have shifted from simple notice pleading to a more heightened form of

pleading, requiring a plaintiff to plead more than the simple possibility of relief to

survive a motion to dismiss under Fed. R. Civ. P. 12(b)(6). See Fowler v. UPMC

Shadyside, 578 F.3d 203, 211 (3d Cir. 2009). Thus, following Twombly and Iqbal,

when presented with a motion to dismiss for failure to state a claim, a district court

should conduct a two-part analysis. First, the factual and legal elements of a claim

should be separated. The district court must accept all of the complaint’s well-

pleaded facts as true but may disregard any legal conclusions. Iqbal, 556 U.S. at

679. Second, a district court must then determine whether the facts alleged in the

complaint are sufficient to show that the plaintiff has a “plausible claim for relief.”


                                          5
       Case 3:18-cv-01423-ARC Document 26 Filed 03/01/19 Page 11 of 24



Id. In other words, a complaint must do more than merely allege the plaintiff’s

entitlement to relief; a complaint has to “show” such an entitlement with its facts.

Id. See also Phillips v. County of Allegheny, 515 F.3d 224, 234-35 (3d Cir. 2008).

As the Supreme Court instructed in Iqbal, “[w]here the well-pleaded facts do not

permit the court to infer more than the mere possibility of misconduct, the complaint

has alleged—but it has not ‘show[n]’—‘that the pleader is entitled to relief.’” Iqbal,

556 U.S. at 679. This “plausibility” determination will be “a context-specific task

that requires the reviewing court to draw on its judicial experience and common

sense.” Id.

      B.      All of Plaintiff’s Claims are Barred by the Statute of Limitations.

      All of Plaintiff’s specious claims are time barred. Four of the seven claims are

brought pursuant to 42 U.S.C. §1983. Amended Compl., at 50, 53, 56, 61. The statute

of limitations for a §1983 claim is governed by the personal injury tort law of the

state where the cause of action arose. Wallace v. Kato, 549 U.S. 384, 387 (2007).

Therefore, the statute of limitations for a §1983 claim arising in Pennsylvania is two

years. 42 Pa. Cons.Stat. § 5524(2); see also Kost v. Kozakiewicz, 1 F.3d 176, 189–

90 (3d Cir. 1993). This two year statute of limitations also governs Sanders’ state

law claims for intentional infliction of emotional distress and defamation. Amended

Compl. at 63 and 65. See 42 Pa. Cons. Stat. §5524(2); see also Aquilino v.




                                          6
       Case 3:18-cv-01423-ARC Document 26 Filed 03/01/19 Page 12 of 24



Philadelphia Catholic Archdiocese, 884 A.2d 1269, 1275 (two year statute of

limitations for intentional infliction of emotional distress claims).

      Finally, Plaintiff brings a nebulous claim pursuant to the Civil Rights Act.

Amended Compl., at 65. Although it is unclear what substantive source of rights

Plaintiff relies upon in making this claim, the only two reasonable possibilities are

42 U.S.C. §1983 and Title VII. As discussed supra, §1983 claims are governed by a

two year statute of limitations. As to Title VII, Plaintiff cannot bring a claim without

first filing a charge with the EEOC, and Plaintiff has passed the deadline of being

able to do so. See Seredinski v. Clifton Precision Prod. Co., Div., of Litton Sys., 776

F.2d 56, 61 (3d Cir. 1985) (A “charge under Title VII must be filed with

the EEOC within 300 days of when the alleged unlawful employment practice

occurred.”).

      Against the backdrop of a two year limitation, the injury’s accrual date is

dictated by federal law. Genty v. Resolution Trust Corp., 937 F.2d 899, 919 (3d

Cir.1991). Under federal law, a cause of action accrues, and the statute of limitations

begins to run, “when the plaintiff knew or should have known of the injury upon

which its action is based.” Sameric Corp. v. City of Philadelphia, 142 F.3d 582, 599

(3d Cir. 1998) (citation omitted). “The determination of the time at which a claim

accrues is an objective inquiry; [courts] ask not what the plaintiff actually knew but

what a reasonable person should have known.” Kach v. Hose, 589 F.3d 626, 634 (3d


                                           7
       Case 3:18-cv-01423-ARC Document 26 Filed 03/01/19 Page 13 of 24



Cir. 2009) (citing Barren v. United States, 839 F.2d 987, 990 (3d Cir.1988)). “A

cause of action accrues at the time of the last event necessary to complete the tort,

usually at the time the plaintiff suffers an injury.” Kach, 589 F.3d at 634 (citing

United States v. Kubrick, 444 U.S. 111, 120 (1979)). “The cause of action accrues

even though the full extent of the injury is not then known or predictable. Were it

otherwise, the statute would begin to run only after a plaintiff became satisfied that

he had been harmed enough, placing the supposed statute of repose in the sole hands

of the party seeking relief.” Wallace, 549 U.S. at 391 (internal quotation marks and

citations omitted).

       Here, Plaintiff’s injury clearly occurred on December 21, 2008, the effective

date of his termination from the University. Amended Compl., ¶180. He had

knowledge of the alleged injury on October 22, 2008, the date he was terminated for

cause. Id. Plaintiff simply cannot, nearly a decade later, bring suit challenging that

termination. Seemingly recognizing that he is severely late in filing his lawsuit,

Plaintiff stitches together a tenuous “continuing violation” based on the actions of

third parties.

       The focus of the continuing violations doctrine is on affirmative acts of the

defendants. Cowell v. Palmer Twp., 263 F.3d 286, 293 (3d Cir. 2011) (emphasis

added); see also Delaware State College v. Ricks, 449 U.S. 250, 258 (1980). Thus,

“when a defendant's conduct is part of a continuing practice, an action is timely so


                                          8
       Case 3:18-cv-01423-ARC Document 26 Filed 03/01/19 Page 14 of 24



long as the last act evidencing the continuing practice falls within the limitations

period.” Brenner v. Local 514, United Bhd. of Carpenters and Joiners of Am., 927

F.2d 1283, 1295 (3d Cir.1991) (emphasis added).

      Significantly, the Third Circuit has “distinguished between ‘continual

unlawful acts,’ which can serve as the basis of a continuing violation, and ‘continual

ill effects from an original violation,’ which cannot.” Cibula v. Fox, 570 Fed.Appx.

129, 136 (3d Cir. 2014) (citing Cowell, 263 F.3d at 293). A plaintiff must establish

that the defendant’s conduct is more than isolated or sporadic acts. Id. (quoting West

v. Philadelphia Electric Co., 45 F.3d 744, 755 (3d Cir. 1995)).

      In this case, aside from broad, legally conclusive statements, Plaintiff has not

pled one fact that any Defendant engaged in any act after his termination in 2008.

Rather, each and every example of how he was “continually harmed” is the result of

actions undertaken by third parties without any associated precipitating action by a

Defendant. For example, in an entire section that spans pages, he complains that the

Commonwealth denied him representation in the lawsuit filed against him in 2009.

Amended Compl., ¶¶202-246. Plaintiff fails to recognize that as a matter of law, the

determination to deny representation and indemnification rests exclusively with the

Office of General Counsel, an executive office of the Commonwealth of

Pennsylvania. See 4 Pa. Code § 39.13(b). The Office of General Counsel’s decision




                                          9
       Case 3:18-cv-01423-ARC Document 26 Filed 03/01/19 Page 15 of 24



to deny Plaintiff Commonwealth representation and indemnification simply cannot

be ascribed to the Defendants because the Defendants had no say in the matter.

      Moreover, the decision to deny representation was made in 2009. Plaintiff

does not, and cannot, plead facts to show that the determination was ever re-

evaluated at any point in the litigation. In other words, the decision was final in 2009

and never revisited, either sua sponte by the Office of General Counsel or at the

request of Plaintiff. As a result, the accrual date for his “injury” would have been

2009, setting the statute of limitations to 2011. Any claim now based on the denial

of representation is well outside the statute of limitations.

      Additionally, throughout the Amended Complaint, Plaintiff claims that

various things were reported in the press. These assertions are devoid of any facts to

show that Defendants were the cause of the news story, whether by authoring an

article, or otherwise publishing these stories themselves. Tellingly, no facts are pled

to show that any Defendant made a statement, gave an interview, or otherwise

publicly discussed Dr. Sanders. The mere existence of rumors and news stories,

without more, are wholly insufficient to establish a continuing violation and are the

very definition of “continued ill effects.” See Cowell, 263 F.3d at 293 (existence of

liens and Township’s refusal to remove them are not an affirmative act of a

continuing violation).




                                           10
       Case 3:18-cv-01423-ARC Document 26 Filed 03/01/19 Page 16 of 24



      Due to Plaintiff’s failure to file a proper civil action within the applicable two-

year period, none of Plaintiff’s claims may proceed as a matter of law. Therefore, as

the statute of limitations for Plaintiffs’ claims has expired, Plaintiffs’ claims should

be dismissed in their entirety with prejudice.

      C.     No Claims Can Proceed Against Defendants Cavanaugh, Brogan,
             Welsh, Borland, and Bruno Because They Have No Personal
             Involvement.

      In addition to the severe untimeliness of the Amended Complaint, all of the

claims against Defendants Cavanaugh, Brogan, Welsh, Borland, and Bruno fail

because Plaintiff has not pled any facts to show their personal involvement. Claims

under Section 1983 must be based on a defendant’s personal involvement in the

wrongdoing. Rode v. Dellarciprete, 845 F.2d 1195, 1207 (3d Cir. 1988). Personal

liability under § 1983 cannot be imposed upon a state official based on a theory of

respondeat superior. See, e.g., Rizzo v. Goode, 423 U.S. 362 (1976); Hampton v.

Holmesburg Prison Officials, 546 F.2d 1077, 1082 (3d Cir. 1976); Durmer v.

O’Carroll, 991 F.2d 64, 69 (3d Cir. 1993). Rather, each defendant must be shown,

through the complaint’s allegations, to have been personally involved in the events

or occurrences upon which Plaintiff’s claims are based. Rode, 845 F.2d at 1207.

      Aside from the “Parties” section in the Amended Complaint, Plaintiff does

not name Defendants Cavanaugh, Brogan, Welsh, or Bruno in a single paragraph.

Indeed, the only Defendant other than Dillman to appear outside of this section is


                                          11
       Case 3:18-cv-01423-ARC Document 26 Filed 03/01/19 Page 17 of 24



Defendant Borland wherein it is claimed he attended meetings and spoke to

individuals. Amended Compl., ¶¶81, 114-119. Plaintiff does not, nor can he, plead

that Defendant Borland’s attendance at meetings and speaking to an individual was

engaging in wrongdoing.

      Moreover, Plaintiff paints in broad brushstrokes when generally attributing

conduct to all Defendants at all times, even when those Defendants were not even

employed by the University. For example, in paragraph 86, he states that “actions

of the Defendants here sent a loud message…” but is referring to an event that

occurred in December 2007 and described in paragraph 85 and 87.3 By his own

admission, Defendant Dillman was the only one employed at the University at that

time. See ¶¶12-17. Plaintiff cannot simply lump in all Defendants with the

conclusory statement “the conduct of the Defendants” when his own pleading

contradicts the factual assertion.

      Because he has not, and cannot, specifically plead any conduct on the part of

Defendants Cavanaugh, Brogan, Welsh, Borland, and Bruno, he cannot show their

personal involvement in his claims. As such, any Section 1983 claims cannot be

sustained and they must be dismissed from suit.



3
  Interestingly, the conduct that “sent a loud message” is actually attributed to a third
party in the preceding and following paragraphs. Amended Compl., ¶¶85 and 87.
Therefore, it is completely unknown what Defendants did to send any message. Such
is the common theme of the Amended Complaint.
                                           12
       Case 3:18-cv-01423-ARC Document 26 Filed 03/01/19 Page 18 of 24



      D.     There is No Cause of Action Under Section 1983 for Making False
             Public Statements.

      Plaintiff’s second cause of action, “Making False Public Statements in

Violation of 42 U.S.C. § 1983,” is also spurious. Compl., ⁋⁋140-156. There is no

such claim under federal law. Shutt v. Parks-Miller, No. 16-1575, 2017 WL

1738450, at *7 (M.D. Pa. May 4, 2017) (“there is no ‘false public statements’ cause

of action under federal law”). Because there is no such legal theory as “making false

public statements” sounding in federal law, this claim must be dismissed.

      E.     Plaintiff’s Third Cause of Action is Not Sustainable Because
             PASSHE is Not a “Person” and Monell Does Not Apply.

      Plaintiff frames his third cause of action as a “Violation of 42 U.S.C. § 1983

against PASSHE.” Amended Compl., at 56. This cause of action is a direct copy of

the third cause of action in the initial complaint, wherein Plaintiff titled it as a Monell

claim.4 Doc. 1, at 33. This entire claim fails because PASSHE is not a “person”

under 42 U.S.C. § 1983, nor is it a municipality.

      In order to establish a Section 1983 claim, it is axiomatic that the Plaintiff

must prove, inter alia, that the conduct complained of was committed by a “person.”

Paratt v. Taylor, 451 U.S. 527, 535, 101 S.Ct. 1908 (1981); Piecknick v.

Commonwealth of Pennsylvania, 36 F.3d 1250, 1256 (3d Cir. 1984). As established



4
 Plaintiff has omitted the title of Monell in the Amended Complaint. Amended
Compl., at 56.
                                            13
       Case 3:18-cv-01423-ARC Document 26 Filed 03/01/19 Page 19 of 24



by the Supreme Court of the United States, “…neither a state nor its officials acting

in their official capacities are ‘persons’ under 42 U.S.C. §1983.” Will v. Michigan

Dep't of State Police, 491 U.S. 58, 71 (1989).

      In this case, the Plaintiff purports to state a claim under Section 1983 against

PASSHE. However, as a matter of law, PASSHE is a branch of the Commonwealth.

In 1987, the Third Circuit found that PASSHE, and its universities, were

“effectively, a state agency and therefore entitled to the protection of the eleventh

amendment in federal courts.” Skehan v. State System of Higher Educ., 815 F.2d

244, 249 (3d Cir. 1987). Recently, the Third Circuit found “[a]fter weighing and

balancing the qualitative strength of each factor in the context of the circumstances

presented, [ ] that [PASSHE and its universities] are entitled to Eleventh Amendment

immunity from [plaintiff] claims in federal court.” Bradley v. West Chester

University of Penn. State System of Higher Educ, 880 F.3d 643, 660 (3d Cir. 2018).

In so holding, the Third Circuit reaffirms that PASSHE is an arm of the State, and

as a result, it is not a “person” for purposes of Section 1983. Accordingly, this count

cannot be lawfully maintained and it must be dismissed.

      Even if this cause of action could proceed against PASSHE, it would still fail

because despite missing its label, Plaintiff attempts to proceed on a Monell claim.

Because PASSHE is not a municipality, this claim additionally fails.




                                          14
       Case 3:18-cv-01423-ARC Document 26 Filed 03/01/19 Page 20 of 24



      In Monell, the court found that a municipality was a “person” for purposes of

liability under Section 1983. Monell, 436 U.S. at 663. The holding, however, was

specifically “limited to local government units which are not considered part of the

State for Eleventh Amendment purposes.” Id. at 690, n. 54. Further, in Will v.

Michigan Dept. of State Police, supra, the Supreme Court of the United States noted

that Monell did not alter the long-held principle that “neither a State, nor its officials

acting in their official capacities are ‘persons’ under § 1983.” Will, 491 U.S. at 71.

In so holding, the Supreme Court reaffirmed this well-settled principle.

      In this case, PASSHE is clearly not a local government unit, such as a

municipality. Rather, PASSHE is an arm of the State. As such, Sanders’ attempt to

impose liability under Monell fails and this count must be dismissed.

      F.     A Claim Under the Civil Rights Act Cannot Proceed.

      Plaintiff’s seventh and final claim references a “Violation of the Civil Rights

Act.” Amended Compl., p. 65. It is wholly unclear from this vague and confusing

claim which of the eleven titles Sanders attempts to implicate. The mere citation of

“the Civil Rights Act” is meaningless in this context and renders Defendants unable

to defend against any allegation.

      To the extent this attempt is made under 42 U.S.C. § 1983, “[t]itle 42 U.S.C.

§ 1983 is not a source of substantive rights but a vehicle for vindicating rights

conferred by the U.S. Constitution or by federal statute.” DiBella v. Borough of


                                           15
       Case 3:18-cv-01423-ARC Document 26 Filed 03/01/19 Page 21 of 24



Beachwood, 407 F.3d 599, 601 (3d Cir. 2005) (citing Baker v. McCollan, 443 U.S.

137, 145 n. 3 (1979)). See also Gonzaga Univ. v. Doe, 536 U.S. 273, 284-85 (2002);

Kopec v. Tate, 361 F.3d 772, 775-76 (3d Cir. 2004). Therefore, citation to the Civil

Rights Act does not provide a second bite at the apple. Further, as outlined supra,

any claim brought pursuant to Section 1983 is time-barred and the claim must be

dismissed.

      To the extent Sanders attempts to bring a claim under Title VII, he is similarly

time-barred, as discussed supra. Furthermore, there are no well-pleaded facts to

show Sanders ever filed a complaint to the Equal Employment Opportunity

Commission. He is well past his time to do so now. See Seredinski v. Clifton

Precision Prod. Co., Div., of Litton Sys., 776 F.2d 56, 61 (3d Cir. 1985) (A “charge

under Title VII must be filed with the EEOC within 300 days of when the alleged

unlawful employment practice occurred.”). As a result, this claim must be dismissed.

                                 CONCLUSION

      For the foregoing reason, Plaintiff’s Amended Complaint, alleging violations

of his rights based on action taken a decade ago, must be dismissed, and judgment

entered in favor of Defendant.

                                              Respectfully submitted,

                                              JOSH SHAPIRO
                                              Attorney General


                                         16
     Case 3:18-cv-01423-ARC Document 26 Filed 03/01/19 Page 22 of 24




                                 By:    s/ Allison L. Deibert
                                        ALLISON L. DEIBERT
Office of Attorney General              Deputy Attorney General
15th Floor, Strawberry Square           Attorney ID 309224
Harrisburg, PA 17120
Phone: (717) 783-6270                   KELI M. NEARY
                                        Chief Deputy Attorney General
                                        Chief, Civil Litigation Section
adeibert@attorneygeneral.gov

Date: March 1, 2019                     Counsel for Defendants




                                   17
       Case 3:18-cv-01423-ARC Document 26 Filed 03/01/19 Page 23 of 24



              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

 ISAAC W. SANDERS,              :               No. 3:18-CV-1423
                      Plaintiff :
                                :               Judge Caputo
              v.                :
                                :               Electronically Filed Document
 PENNSYLVANIA’S STATE           :
 SYSTEM OF HIGHER               :               Complaint Filed 07/17/18
 EDUCATION, et al.
                   Defendants :


                      CERTIFICATE OF WORD COUNT

      I, Allison L. Deibert, Deputy Attorney General, hereby certify that the

Defendants’ Brief in Support of Their Motion to Dismiss filed on March 1, 2019,

contains 3,697 words. In making this certificate, I have relied on the word count of

the word-processing system used to prepare the brief.


                                       s/ Allison L. Deibert
                                      ALLISON L. DEIBERT
                                      Deputy Attorney General
       Case 3:18-cv-01423-ARC Document 26 Filed 03/01/19 Page 24 of 24




              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

 ISAAC W. SANDERS,              :               No. 3:18-CV-1423
                      Plaintiff :
                                :               Judge Caputo
              v.                :
                                :               Electronically Filed Document
 PENNSYLVANIA’S STATE           :
 SYSTEM OF HIGHER               :               Complaint Filed 07/17/18
 EDUCATION, et al.
                   Defendants :


                         CERTIFICATE OF SERVICE
      I, Allison L. Deibert, Deputy Attorney General for the Commonwealth of

Pennsylvania, Office of Attorney General, hereby certify that on March 1, 2019, I

caused to be served a true and correct copy of the foregoing document titled Brief

in Support of Defendant’s Motion to Dismiss Plaintiff’s Amended Complaint to

the following:

 VIA ELECTRONIC FILING

 Harry T. Coleman, Esquire
 Law Office of Harry Coleman
 41 North Main Street, Suite 316
 Carbondale, PA 18407
 harry@harrycolemanlaw.com
 Counsel for Plaintiff

                                       s/ Allison L. Deibert
                                      ALLISON L. DEIBERT
                                      Deputy Attorney General
